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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

FIDELITY NATIONAL TITLE                    )
INSURANCE COMPANY,                         )
                                           )
      Plaintiff,                           )    Civil Action Number
                                           )    5:16-cv-00844-AKK
v.                                         )
TRACY C. WOODEN, ET AL.,                   )
                                           )
      Defendants.                          )

                    MEMORANDUM OPINION AND ORDER

      Fidelity National Title Insurance Company (“Fidelity”) filed this action

against Tracy and Kristi Wooden (the “Woodens”) and Smartbank, seeking legal

and equitable relief related to a title policy it issued to the Woodens. Doc. 1.

Fidelity maintains that the Woodens were partially responsible for creating a

defective legal description of the property the Woodens purchased from Smartbank

and also were not financially harmed by the defect. Doc. 96 at 8. Therefore,

Fidelity maintains that the title policy it issued should exclude Lot 5 which was

included in the legal description based on a purported mistake. Id. The Woodens

contend that they believed that the property they purchased from Smartbank

included Lot 5, that they did not create the legal defect in the property description,

and that they are due compensation for the loss under the title policy. Doc. 98 at

12-23. Smartbank maintains that it never represented that it owned Lot 5 in the

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property sale to the Woodens and should not be held liable for the defective

property description. Doc. 95 at 3-6.

      Based on their varying contentions, the parties have pleaded the following

claims: Fidelity asserts six claims including reformation (Count I) and declaratory

judgment    (Count   II)   against   the   Woodens    and    Smartbank,    negligent

misrepresentation (Count III) and unclean hands/estoppel from opposing

reformation efforts (Count IV) against the Woodens, and contingent claims for

breach of contract (Count V) and breach of warranty (Count VI) against Smartbank

in the event the Woodens prevail against Fidelity, docs. 91, 96; (2) the Woodens

countered with claims against Fidelity for declaratory judgment (Count I), breach

of contract and judgment for interest (Count II), and bad faith refusal to pay (Count

III), doc. 98; and (3) Smartbank filed counterclaims against Fidelity and

crossclaims against the Woodens seeking reformation (Count I) and declaratory

judgment (Count II), doc. 95.

      Presently before the court are the parties’ partial motions and cross-motions

for summary judgment. Specifically, Fidelity moves on its own reformation and

declaratory judgment claims, as well as on the Woodens’ counterclaims against it.

Doc. 112.     For their part, the Woodens seek summary judgment on their

counterclaim for declaratory judgment, on all of Fidelity’s claims against them,

doc. 114, and on Smartbank’s crossclaims for reformation and declaratory


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judgment, doc. 115. Finally, Smartbank has moved on its reformation claim and

Fidelity’s breach of contract claim against it. Doc. 116. For the reasons stated fully

below, the court finds that only Fidelity’s motion related to the Woodens’ bad faith

claim is due to be granted.

      I. LEGAL STANDARD FOR SUMMARY JUDGMENT
      Under Rule 56(a) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. “Rule 56[] mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986) (alteration in original). The moving party bears

the initial burden of proving the absence of a genuine issue of material fact. Id. at

323. The burden then shifts to the nonmoving party, who is required to “go

beyond the pleadings” to establish that there is a “genuine issue for trial.” Id. at

324 (citation and internal quotation marks omitted). A dispute about a material

fact is genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986).


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      On summary judgment motions, the court must construe the evidence and all

reasonable inferences arising from it in the light most favorable to the non-moving

party. Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); see also Anderson,

477 U.S. at 255. Any factual disputes will be resolved in the non-moving party’s

favor when sufficient competent evidence supports the non-moving party’s version

of the disputed facts. See Pace v. Capobianco, 283 F.3d 1275, 1276, 1278 (11th

Cir. 2002) (a court is not required to resolve disputes in the non-moving party’s

favor when that party’s version of events is supported by insufficient evidence).

However, “mere conclusions and unsupported factual allegations are legally

insufficient to defeat a summary judgment motion.” Ellis v. England, 432 F.3d

1321, 1326 (11th Cir. 2005) (per curiam) (citing Bald Mountain Park, Ltd. v.

Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

      The simple fact that all parties have filed partial motions for summary

judgment does not alter the ordinary standard of review. See Chambers & Co. v.

Equitable Life Assurance Soc., 224 F.2d 338, 345 (5th Cir. 1955) (explaining that

cross-motions for summary judgment “[do] not warrant the granting of either

motion if the record reflects a genuine issue of fact”). Rather, the court will


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consider each motion separately “‘as each movant bears the burden of establishing

that no genuine issue of material fact exists and that it is entitled to judgment as a

matter of law.’” 3D Med. Imaging Sys., LLC v. Visage Imaging, Inc., 228 F. Supp.

3d 1331, 1336 (N.D. Ga. 2017) (quoting Shaw Constructors v. ICF Kaiser Eng’rs,

Inc., 395 F.3d 533, 538–39 (5th Cir. 2004)). The court notes that although cross-

motions “‘may be probative of the non-existence of a factual dispute’” they “‘will

not, in themselves, warrant [the granting of] summary judgment.’” United States v.

Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984) (quoting Bricklayers Int’l Union,

Local 15 v. Stuart Plastering Co., 512 F.2d 1017, 1023 (5th Cir. 1975)).

        II. FACTUAL BACKGROUND

        In April 2010, Smartbank acquired a deed at a foreclosure sale to a 635-acre

property consisting of undeveloped lots in an area known as Long Island Overlook

that is located in Jackson County, Alabama. Doc. 96-3. The foreclosure deed

included all but one lot within the property, known as “Lot 5, Phase II,” which the

previous owner, Southern Group, LLC, had transferred to another individual the

prior year.    Doc. 113-2.     Three months after acquiring the property deed,

Smartbank agreed to sell the property to the Woodens for $800,000. Doc. 96-4.

The contract described the property as “land located in Jackson County, Alabama”

and “635 acres owned by Seller known as the Long Island Overlook property.” Id.

at 2.    The contract also included placeholder language stating that “the legal


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description is to be replaced with a title company’s legal description upon

completion of the title examination.” Id. at 7.

      Subsequently, Warranty Title created a description of the property without

explicitly referencing individual subdivision lots, and RLS Group LLC provided a

“corners survey” of the property which included Lot 5 of “Final Plat Long Island

Overlook-Phase 2.” Doc. 113-8.       RLS’s survey work and descriptions of the

property, which erroneously included Lots 5 and 38 but left out Lot 39, were used

for the legal description in the Special Warranty Deed Smartbank issued to the

Woodens. Docs. 113-11; 113-23.

      After obtaining the deed, the Woodens purchased a title insurance policy

from Fidelity. Doc. 113-21. The policy incorporated by reference the property

description in the foreclosure deed to Smartbank (which did not include Lot 5) and

the property description in the Special Warranty Deed (which included Lot 5). Id.

at 6. The policy Fidelity issued is a standard one covering risks related to title

being vested other than as stated in the property description, defects in lien or

encumbrance on the title, and unmarketable title. Id. at 3. The policy excluded

coverage for “defects, liens, encumbrances, adverse claims, or other matters . . .

created, suffered, assumed, or agreed to by the Insured Claimant.” Id.

      Warranty Title subsequently discovered the mistakes in the property

description and presented the Woodens with a revised instrument to reform the


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Special Warranty Deed. The Woodens refused to sign, maintaining among other

things that they are due coverage for Lot 5 under the policy Fidelity issued. Docs.

27-2; 113-23. Thereafter, Fidelity filed this lawsuit seeking in part to reform the

policy to exclude Lot 5 and a declaratory judgment that it has no obligation to

provide coverage for Lot 5. Doc. 96.

      III. ANALYSIS

      Presently before the court are the parties’ partial motions for summary

judgment on reformation and declaratory judgment claims, as well as various

claims for breach of contract, bad faith, negligent misrepresentation, and unclean

hands/estoppel. The court will address the motions collectively beginning with the

reformation and declaratory judgment claims, followed by the breach of contract

and tort claims. 1 In ruling on these motions, in light of the evidentiary objections

the Woodens raise, see doc. 120 at 4-5, the court has not relied on Patty Martin’s

affidavit or Smartbank’s June 2010 appraisal. The court will address the parties’

contentions on these two matters if Fidelity seeks to introduce them at trial.




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 Fidelity also moved for summary judgment on the Woodens’ fraud counterclaim. However, the
Woodens abandoned this claim in their amended counterclaims. Doc. 98.
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       A. Fidelity and Smartbank’s Contract Reformation Claims

       Under Alabama law, 2 “when a [contract] through mutual mistake of

the parties, or mistake of one of the parties, and fraud or deception on the part of

the other . . . contains substantially more or less than the parties intended , . . . it

will be reformed to express the true intention of the parties.” Pullum v. Pullum, 58

So. 3d 752, 756 (Ala. 2010) (citing Ala. Code § 8-1-2 (1975)). Although courts

can use reformation to make the contract conform to the parties’ intentions,

Original Church of God, Inc. v. Perkins, 293 So. 2d 292, 293 (Ala. 1974), the

remedy is “not available to make a new agreement.” Highlands Underwriters Ins.

Co. v. Elegante Inns, Inc., 361 So. 2d 1060, 1064 (Ala. 1978).                      To invoke

reformation, a party must show “(1) mutual mistake, (2) mistake of one party and

inequitable conduct on the part of the other party, or (3) fraud.” See, e.g., Ala.

Code § 8-1-2 (1975); EBSCO Industries, Inc. v. Royal Ins. Co. of America, 775 So.

2d 128, 131 (Ala. 2000). For the reasons stated below, material issues of fact exist

that preclude the court from finding as a matter of law that Fidelity and Smartbank

can invoke the remedy.

       1. Fidelity’s motion

       Fidelity seeks reformation of the title policy based on the reference to Lot 5

in the Special Warranty Deed. Doc. 112 at 11-15. More specifically, Fidelity

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 The court has subject matter jurisdiction over this dispute based on diversity, and as such, the
court applies Alabama’s substantive law. Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938).
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contends that Smartbank and the Woodens mistakenly relied on the legal

description prepared by the scrivener who conveyed more property than what

Smartbank and the Woodens purportedly intended. Id. at 13. Reformation of an

instrument based on mutual mistake requires that the “mistake be mutual as to all

parties to the instrument.” Fadalla v. Fadalla, 929 So. 2d 429, 434 (Ala. 2005).

The parties must have a “meeting of minds, an agreement actually entered into, but

the contract or deed in its written form does not express what was really intended

by the parties.” Gray v. Bain, 164 So. 3d 553, 564 (Ala. 2014). Because the

instrument is presumed to support the true agreement, Fidelity must produce

“clear, convincing, and satisfactory evidence” that the deed fails to express the

parties’ true intent at the time they created the instrument. Simpson v. First

Alabama Bank of Montgomery, N. A., 364 So. 2d 289, 291 (Ala. 1978) (emphasis

added).

      To support its position, Fidelity cites Lawyers Title Ins. Co. v. Golf Links

Dev. Corp., a case where the court granted reformation on a title policy that

erroneously included an extra lot in the property’s legal description. 87 F. Supp. 2d

505, 508 (W.D.N.C. 1999). Lawyers Title Ins. Co. is distinguishable however

because the defendant admitted that he “absolutely” did not know what he was

purchasing, merely looked at the pictures of the property, gathered a “general

sense” of the property value, did not read the legal description, and briefly visited


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the property. Id. In contrast, Tracy Wooden and Travis Shield (Chief Manager of

Southern Group) testified that Southern Group led Tracy Wooden to believe that

the foreclosed property that the Woodens purchased from Smartbank included the

home on Lot 5. Docs. 113-17 at 11; 114-7. Moreover, RLS Group circulated the

survey (which included Lot 5) prior to the closing on the property purchase and

before the Woodens purchased the title policy, reinforcing the Woodens’

contention that their purchase included Lot 5. Docs. 113-6, 113-7, 113-8, 113-11 at

9. Indeed, Kristi Wooden testified about seeing the house on Lot 5 prior to the

purchase, reviewing the title commitment and deed, and tracing the legal

description to the RLS survey. Doc. 58-6 at 5. This evidence creates a material

factual dispute over whether the Woodens believed their purchase included Lot 5,

and precludes the court from granting Fidelity’s motion on the reformation claim.

A trier of fact must weigh the evidence to determine whether the Woodens’ belief

was due to a unilateral mistake on their part or if their testimony on intending to

purchase Lot 5 is contradicted even by their own testimony and actions as Fidelity

maintains. See American and Foreign Ins. Co. v. Tee Jays Mfg. Co., Inc., 699 So.

2d 1226, 1227–28 (Ala.1997); Sunshine Bank of Ft. Walton Beach v. Smith, 631

So. 2d 965, 968 (Ala. 1994). See also docs. 112 at 8; 114-9 (Fidelity’s contention

that the Woodens equivocate over their intent to purchase Lot 5 based on when the




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Woodens obtained keys, changed utilities, spoke with Randy King, the current

owner of Lot 5, or paid taxes on Lot 5).

      2. The Woodens and Smartbank’s cross-motions

      The Woodens and Smartbank both seek summary judgment on Smartbank’s

claim to reform the Special Warranty Deed. Docs. 115 at 8, 117 at 26. For its part,

Smartbank argues that (1) the parties mutually relied on the scrivener who

mistakenly included Lot 5 and/or (2) it made a unilateral mistake based on the

Woodens’ inequitable conduct. Doc. 117 at 26-31. See Ala. Code § 35-4-153

(2014) (reformation of deed, mortgage or other conveyance); Ala. Code § 8-1-2

(1975) (reformation of contracts). To prevail, Smartbank must provide clear and

convincing evidence that the contract does not express the parties’ actual intent.

See Simpson, 364 So. 2d 289; Gray, 164 So. 3d at 564. At this juncture, however,

viewing the evidence in the light most favorable to the Woodens, the court cannot

find that the Woodens did not intend to purchase Lot 5. The contract explicitly

states that the property’s “legal description is to be replaced with a title company’s

legal description upon completion of the title examination” and that “[Smartbank]

agrees to provide [the Woodens] with a survey of the Property and to provide GPS

coordinates on the survey” as a condition to closing.          Doc. 113-4 at 3, 6.

Consistent with this language, RLS Group’s survey, which included Lot 5, became

part of the contract. Based on this sequence of events, Smartbank has failed to


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meet its burden to demonstrate a mutual mistake3 to reform the Special Warranty

Deed, and the court cannot find as a matter of law that the inclusion of Lot 5 was

contrary to the Woodens’ actual intent in purchasing the property. See, e.g.,

Nationwide Mut. Fire Ins. Co. v. Guster Law Firm, LLC, 568 F. App’x 884, 885

(11th Cir. 2014) (Parties cannot use reformation to “make a new agreement” and

must “prove that the parties had a meeting of the minds at the time of the contract

on the version of the contract which [the party] now urge[s].”). Relatedly, given

the factual disputes over the Woodens’ intent to purchase Lot 5, the Woodens’ own

motion on Smartbank’s reformation claim — premised on the contention that

Smartbank cannot provide undisputed evidence that the Woodens did not intend to

purchase Lot 5, doc. 115 at 14 — is also due to be denied.

       B. The Declaratory Judgment Claims

       All three parties have pleaded claims for declaratory judgment, and Fidelity

and the Woodens have moved for summary judgment on these claims.                            In

Alabama, parties “whose rights, status, or other legal relations are affected by a . . .

contract” may “have determined any question of construction or validity arising


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  Smartbank alternatively argues a unilateral mistake on its part, contending that the “Woodens
knew of and contributed to the mistaken legal description” and their “actions caused the
mistaken legal descriptions to be created.” Doc. 117 at 30-31. Although Smartbank may
ultimately succeed in proving these contentions, at this juncture the court cannot ignore the
Woodens’ contention that they did not alter references to Lot 5 in the Warranty Title or the
parties’ dispute over who instructed the RLS Survey Group to include Lot 5. See King v.
Westbrook, 358 So. 2d 727, 729 (Ala. 1978) (no reformation for a unilateral mistake absent
fraud).
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under the . . . contract” and obtain declaratory “judgment of rights, status, or other

legal relations.” Ala. Code § 6–6–223 (1975). “General rules of contract law

govern an insurance contract,” and “[t]he court must enforce the insurance policy

as written if the terms are unambiguous.” Lambert v. Coregis Ins. Co., Inc., 950

So. 2d 1156, 1161 (Ala. 2006) (quoting Safeway Ins. Co. of Ala. v. Herrera, 912

So. 2d 1140, 1143 (Ala. 2005)) (internal citations and quotations omitted).

“[W]hen doubt exists as to whether coverage is provided under an insurance

policy, the language used by the insurer must be construed for the benefit of the

insured.” St. Paul Mercury Ins. Co. v. Chilton–Shelby Mental Health Ctr., 595 So.

2d 1375, 1377 (Ala. 1992). Further, “when ambiguity exists in the language of

exclusion, the exclusion will be construed so as to limit the exclusion to the

narrowest application reasonable under the wording.” Id. (citation omitted).

Nonetheless, “in the absence of statutory provisions to the contrary, insurers have

the right to limit their liability by writing policies with narrow coverage.” Id.

Indeed, “[i]f there is no ambiguity, courts must enforce insurance contracts as

written and cannot defeat express provisions in a policy, including exclusions from

coverage, by making a new contract for the parties.” Id.

      1. Fidelity’s motion

      Fidelity asks the court to declare that the Woodens cannot claim an actual

loss under the policy because drafting errors committed by the Woodens’ agent led


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to the inclusion of Lot 5 in the policy. Doc. 112 at 17. In particular, Fidelity cites

the exclusions related to “defects, liens, encumbrances, adverse claims or other

matters: (a) created, suffered, assumed or agreed to by the Insured Claimant; . . .

[or] (c) resulting in no loss damage to the Insured Claimant . . .” Doc. 1-7 at 3.

However, as to the first exclusion, although evidence shows that the “Woodens

were intimately involved in the surveying process,” doc. 94 at 2, a genuine dispute

exists regarding whether the Woodens assumed or created the defect and whether

the survey and legal description errors can be imputed to the Woodens via an

agency relationship. 4 The facts in this case are far from conclusive, 5 precluding


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  “In Alabama, agency is determined by the facts of the case, not by how the parties may
characterize their relationship.” Ragsdale v. Life Ins. Co. of N. Am., 632 So. 2d 465, 468 (Ala.
1994). Generally, “[a]gency is . . . a question of fact to be determined by the trier of fact,”
Brown ex rel. Brown v. St. Vincent's Hosp., 899 So. 2d 227, 237 (Ala. 2004), and “when a
defendant’s liability is based on a theory of agency, an agency relationship may not be
presumed” and thus “the plaintiff must present substantial evidence of an agency relationship.”
Wallace v. Frontier Bank, N.A., 903 So. 2d 792, 801 (Ala. 2004).
5
  Disputes exists regarding who hired or directed RLS Group and/or Warranty Title to draft the
legal description for the Contract, Special Warranty Deed, and Title Insurance Policy: Patrick
Bennett, an underwriting counsel for Fidelity, admits on several occasions that “Warranty Title
was a title agent of Fidelity in 2010 when the [policy] was issued.” Doc. 114-13 at 7, 10, 14, 16.
Fidelity filed a recoupment demand and created a tolling agreement with Warranty Title. Doc.
117-23. Cynthia Baines, senior claims counsel for Fidelity, testified also that Warranty Title was
Fidelity’s agent. Docs. 117-27 at 10, 18, 22, 33 and 114-15 at 6. Robert Watson, executive vice
president of Smartbank, testified that the bank paid RLS Group for the initial survey and that he
could not recall “if it was [him] or Jerry Lee” who suggested using Warranty Title to close the
transaction with the Woodens. Docs. 114-3 at 13 and 117-8 at 4. Michael Loyd, owner of RLS
Group, testified that after another surveyor, Larry Newman, declined the task of doing the corner
survey because “the job was too big for him,” RLS Group’s name was “passed on to
[Smartbank]” which paid RLS for survey work on behalf of Tracey Wooden. Doc. 114-4 at 5,
11. Finally, although Kristi Wooden, at the instruction of Warranty Title, asked RLS Group to
send the final description to the title agent, the prior changes the Woodens made to the survey
did not alter the original inclusion of “Lots 2-7 of Phase II” in the original survey. Doc. 117-14.


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the court from finding as a matter of law that the Woodens “created, suffered,

assumed, or agreed to” a defect in the policy’s property description.

      Similarly, as to the second exclusion, the court cannot find as a matter of law

that the Woodens have suffered no loss or damages. To the contrary, Tracy

Wooden maintains that based on “being familiar with property values in that

specific area [of Jackson County, Alabama] for a large number of years, [he] knew

the property wasn’t anywhere near [$]800,000 without [Lot 5] and the appraisal

confirms that.” Doc. 113-17 at 29, 34. Moreover, he attests that “if [he got]

neither good title to Lot 5 nor recovery on [his] claim, then [he] will have paid

dramatically more per acre than [he] paid per acre for other large tracts nearby.”

Doc. 114-8 at 5-6.      For these reasons, Fidelity’s motion on its declaratory

judgment claim is due to be denied.

      2. The Woodens’ motion

      The Woodens also ask the court to rule that the title policy covered Lot 5

and to dismiss Fidelity’s declaratory judgment claim, noting that the policy covers

“loss or damage . . . sustained or incurred by the Insured by reason of: 1. Title

being vested other than as stated in Schedule A,” or “2. Any defect in or lien or

encumbrance on the Title.” Doc. 1-7 at 2. Although the court must construe

insurance policies “in a manner most favorable to the insured” when an ambiguity

exists, the court must also “enforce the contract as written and cannot defeat


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express provisions in the policy, including exclusions, by making a new contract

for the parties.” Westchester Fire Ins. Co. v. Barnett Millworks, Inc., 364 So. 2d

1137 (Ala.1978). Thus, given the dispute regarding whether the Woodens caused

the defect related to Lot 5, the court cannot find as a matter of law that the title

policy covered Lot 5 or that the policy exclusions are inapplicable. Turner v. U.S.

Fid. & Guar. Co., 440 So. 2d 1026, 1028 (Ala. 1983) (“To arrive at a construction

reasonably calculated to accomplish the intent and purpose of the parties,

moreover, we cannot construe a sentence in the policy in isolation, but rather we

construe it in connection with other provisions of the policy.”). As such, the

Woodens’ motion as to their declaratory judgment claim and Fidelity’s claim is

also due to be denied.

       For the same reasons, the Woodens’ motion on Smartbank’s declaratory

judgment crossclaim 6 is also due to be denied. Again, a material dispute exists

over which party directed or enlisted Warranty Title and/or RLS Group to draft the

survey and legal description. See docs. 114-4 at 5, 1; 114-3 at 13; 117-8 at 4. It is

for the trier of fact to ultimately decide whether Smartbank paid RLS Group to

conduct the survey and draft the legal description as the Woodens contend or




6
 Smartbank seeks a declaration “that the Special Warranty Deed does not include Lot 5 because
Smartbank never owned Lot 5, never intended to convey Lot 5 to the Woodens, and never
represented that Lot 5 was being conveyed.” Doc. 115 at 15-18.
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whether Smartbank was completely unaware of the changes made to the legal

description by the Woodens’ agents. See docs. 114-3 at 13 and 113-14 at 17-18.

       C. The Woodens’ Bad Faith Claim

       In Count III of their counterclaim, the Woodens plead that Fidelity has

engaged in bad faith by failing to pay their claim related to Lot 5. Fidelity

contends that the Woodens are unable to prove the various elements to sustain this

claim. 7 Doc. 112 at 18. The court agrees.

        “Under Alabama law, bad faith is a ‘singular’ tort with two different

methods of proof—‘normal’ bad faith, also known as bad faith refusal to pay, and

‘abnormal’ bad faith, also known as bad faith failure to investigate.” Cole v.

Owners Ins. Co., 326 F. Supp. 3d 1307, 1329 (N.D. Ala. 2018). Bad faith tort

claims are an “extreme remedy” and “available only in extreme circumstances,”

Alfa Mutual Insurance Co. v. Northington, 604 So. 2d 758, 760 (Ala. 1992). As

such, the Woodens must show that Fidelity engaged in conduct that was “not

simply bad judgment or negligence,” but rather “imports a dishonest purpose and

means a breach of a known duty, good faith and fair dealing through some motive

or self-interest or ill will.” Gulf Atlantic Life Insurance Co. v. Barnes, 405 So. 2d

916, 924 (Ala. 1981). “For a ‘normal’ bad-faith claim to be submitted to the jury,

7
  A bad faith claim requires: “(1) a breach of the insurance contract; (2) an intentional refusal to
pay the insured’s claim; (3) the absence of any legitimate or arguable reason for that refusal; and
(4) the insurer’s actual knowledge of the absence of any legitimate or arguable reason.” Mutual
Serv. Cas. Ins. Co. v. Henderson, 368 F.3d 1309, 1314 (11th Cir. 2004).
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the underlying contract claim must be so strong that the plaintiff would be entitled

to a preverdict judgment as a matter of law.” Shelter Mut. Ins. Co. v. Barton, 822

So. 2d 1149, 1155 (Ala. 2001); see also Mut. Serv. Cas. Ins. Co. v. Henderson, 368

F.3d 1309, 1314 (11th Cir. 2004) (internal citation omitted) (“Ordinarily, if the

evidence produced by either side creates a fact issue with regard to the validity of

the claim and, thus, the legitimacy of the denial thereof, the [‘normal’ bad faith]

claim must fail and should not be submitted to the jury.”).

      Fidelity has presented a “debatable reason for denying the claim at the time

the claim was denied” which is sufficient to “defeat a bad faith failure to pay

claim.” Coleman v. Unum Grp. Corp., 207 F. Supp. 3d 1281 (S.D. Ala. 2016).

Given the factual disputes outlined earlier, the Woodens have failed to show that

Fidelity had “no legal or factual defense to the insurance claim.” Nat’l Security

Fire & Casualty Co. v. Bowen, 417 So. 2d 179 (Ala. 1982) (holding that the

plaintiff must demonstrate more than just a “mere showing of nonpayment” to

make out a bad faith nonpayment claim). Moreover, Fidelity’s resolution of the

Woodens’ separate claims for Lot 38 and mineral rights issues undercuts the

Woodens’ contention of bad faith. Doc. 113-17 at 9.           Accordingly, summary

judgment is due on this claim.




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      D. Breach of Contract Claims

      There are two breach of contract claims being challenged – the Woodens’

claim against Fidelity and Fidelity’s claim against Smartbank. Docs. 112 at 28; 114

at 31-32; 117 at 16. For the reasons stated below, both claims survive summary

judgment.

      1. The Woodens’ Claim

      Based also Fidelity’s failure to pay their claim, the Woodens plead in Count

II a claim for a breach of the title policy and judgment for interest. Both Fidelity

and the Woodens seek summary judgment on this claim.

      The elements of a breach-of-contract claim are “(1) a valid contract binding

the parties; (2) the plaintiff’s performance under the contract; (3) the defendant’s

nonperformance; and (4) resulting damages.” State Farm Fire & Cas. Co. v. Slade,

747 So. 2d 293, 303 (Ala. 1999). Relevant here, as explained in Part B, supra,

there are several factual questions related to the merits of the Woodens’ contention

of an alleged breach of the policy. Again, it is unclear whether the error in the

legal description is covered under the policy or qualifies as a defect assumed by the

Woodens and thus exempted from the policy. Accordingly, because neither party

has conclusively demonstrated whether the Lot 5 claim is covered or excluded

under the policy, Fidelity and the Woodens’ separate motions on this claim are due

to be denied.


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       2. Fidelity’s Claim

       Citing Alabama’s statute of frauds and the defense of mistake in support of

its motion, 8 Smartbank has moved for summary judgment on Fidelity’s contingent

breach of contract claim — i.e. that if the Woodens “are deemed to have any

coverage under the Title Policy as it relates to Lot 5,” then Smartbank’s “inability

to provide good and marketable title to Lot 5 constitutes a breach of [Smartbank’s]

contractual obligations, from which [Fidelity] has suffered damages.” Doc. 96 at 8.

For “a contract for sale of land . . . to satisfy the statute of frauds,” the contract

“must describe the land with such certainty that it can be identified without resort

to oral evidence.” Goodwyn v. Jones, 257 So. 2d 320, 323 (Ala. 1971). Smartbank

is generally correct that, notwithstanding the placeholder language that the “title

company’s legal description” would serve as the replacement, the July 2010

Property Contract, which only described the property as “land located in Jackson

County” and “635 acres owned by Seller known as Long Island Overlook

Property,” violates the statute of frauds. Doc. 113-4 at 6. See Nix v. Wick, 66 So.

3d 209, 213 (Ala. 2010) (statute of frauds violation because the contract did not

“sufficiently identify the land to be sold” and the parties had not “settled on any

area that was well demarcated and recognized” at the time of the contract); Min

Quin Shao v. Corley, 95 So. 3d 14 (Ala. Civ. App. 2012) (contract did not

8
 The mistake defense does not help at this juncture due to the failure to demonstrate a mutual
mistake or unilateral mistake with fraud or inequitable conduct. See n. 5, supra.
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“describe the location or dimensions of the parcel in any way” and “referenced a

survey [that] had not yet been prepared at the time the document was executed”).

However, the contract here satisfies an exception to the statute of frauds, i.e., “the

purchase money, or a portion thereof [was] paid and the purchaser [was] put in

possession of the land by the seller.” See Ala. Code § 8-9-2(5) (1975). Indeed, the

parties completed the sales transaction, see docs. 117-12; 117-17, and the Woodens

are in possession of the property, see doc. 117-25 at 4. Therefore, Smartbank’s

motion is due to be denied. Rentz v. Grant, 934 So. 2d 368, 373 (Ala. 2006)

(holding that the “partial performance” exception to the statute of frauds saved an

oral agreement when the purchaser paid all or part of the purchase price and is in

possession of the land).

      E. Fidelity’s Negligent Misrepresentation Claim

      The    Woodens       seek   summary     judgment    on   Fidelity’s   negligent

misrepresentation claim.      To prove misrepresentation, Fidelity must present

substantial evidence of “(i) a misrepresentation of a material fact, (ii) made to

willfully deceive recklessly, without knowledge, or mistakenly, (iii) which was

reasonably relied on by the claimant under the circumstances, and (iv) which

proximately injured the claimant.” Bryant Bank v. Talmage Kirkland & Co., 155

So. 3d 231, 238 (Ala. 2014) (emphasis added). As explained in Part B, supra,

material issues of fact preclude the court from finding as a matter of law that the


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Woodens have willfully, recklessly, or mistakenly misrepresented a material fact,

that the Woodens are responsible for RLS Survey Group’s misrepresentation of

material fact, that any of the parties can be held liable to a third party’s negligent

misrepresentation, or that Fidelity had an agency relationship with RLS Survey

Group and/or Warranty Title and is therefore responsible for the inclusion of Lot 5

in the legal description. Accordingly, the Woodens’ motion on this claim is also

due to be denied.

      F. Fidelity’s Unclean Hands and Equitable Estoppel Claims

      The Woodens also seek summary judgment on Fidelity’s unclean hands and

equitable estoppel claims in which Fidelity asks the court to preclude “the

Woodens from opposing Plaintiff’s efforts to reform the Title Policy” or

alternatively “conclude that the Woodens’ conduct estops them from opposing

reformation of the Title Policy.” Doc. 96 at 15. Although Fidelity raised the

unclean hands and equitable estoppel doctrines as separate causes of action, the

doctrines are more appropriate as “affirmative defenses.” Abbott Point of Care,

Inc. v. Epocal, Inc., 868 F. Supp. 2d 1310, 1316 (N.D. Ala. 2012). Nonetheless,

the Woodens’ motion is due to be denied because material factual disputes exist

over, as to the unclean hand claim, whether the Woodens engaged in any

wrongdoing with respect to their involvement with RLS Group and drafting the

defective legal description, and, as to the equitable estoppel claim, whether the


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Woodens misled Smartbank to include Lot 5 in the purchased property’s legal

description. Therefore, Fidelity’s assertion of these “affirmative defense[s] of

inequitable conduct should be presented to the jury.” Id. at 1318.

      IV. CONCLUSION AND ORDER

      Consistent with this opinion, Smartbank’s motion, doc. 116, and the

Woodens’ motions for summary judgment, docs. 114 and 115, are DENIED.

Fidelity’s motion, doc. 112, is GRANTED solely as to the Woodens’ bad faith

claim. Accordingly, the Woodens’ bad faith claim, Count III, is DISMISSED

WITH PREJUDICE.

      Fidelity’s Motion to Strike the testimony of T. Boice Turner, Jr., doc. 64,

which Smartbank did not oppose, see doc. 73, is MOOT in light of Smartbank’s

failure to use Turner’s testimony in its motion for summary judgment.

      Trial will proceed on February 25, 2019 as scheduled, see doc. 94, on the

remaining claims. As for the pretrial conference, it is hereby RESCHEDULED

for January 29, 2019 at 8 a.m. at the Federal Courthouse in Decatur, Alabama.

The court directs the parties to the Standard Pretrial Procedures governing all

pretrial deadlines, which is attached as Exhibit A.


      DONE the 11th day of January, 2019.

                                       _________________________________
                                                ABDUL K. KALLON
                                         UNITED STATES DISTRICT JUDGE

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